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Attorneys for Defendant Joseph Delia


              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA

MARIA M. GIVENS, as Personal           )
Representative of the Estate of        )
Raymond C. Givens,                     )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )
                                       )
JOSEPH DELIA,                          ) Case No. 3:23-cv-00121-HRH
                                       )
            Defendant.                 )
                                       )

                 JOINT MOTION FOR APPROVAL OF
              SECOND CONFIDENTIALITY AGREEMENT

      Defendant Joseph Delia and Plaintiff Maria M. Givens, as Personal Rep-

resentative of the Estate of Raymond C. Givens, by their respective under-

signed counsel, respectfully move the Court for approval of the parties’ Second

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Confidentiality Agreement, attached as Exhibit A. It is the parties’ intention

that any confidential documents or information that Ms. Givens may receive

under this agreement will be limited to disclosures that are reasonably neces-

sary for purposes of this litigation.

       A proposed order accompanies this motion.



DATED: April 30, 2025              LANDYE BENNETT BLUMSTEIN LLP

                                   /s/ Andrew Erickson
                                   ________________________________________
                                   Andrew Erickson, Alaska Bar No. 1605049
                                   Matt Mead, Alaska Bar No. 0711095

                                   Attorneys for Defendant Joseph Delia



DATED: April 30, 2025              WINNER & ASSOCIATES, P.C.

                                   /s/ Russell L. Winner
                                   ________________________________________
                                   Russell L. Winner, Alaska Bar No. 7811149

                                   Attorneys for Plaintiff Maria M. Givens, as
                                   Personal Representative of the Estate of Ray-
                                   mond C. Givens




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                      CERTIFICATE OF SERVICE

     I hereby certify that on April 30, 2025, a copy of the foregoing was served

by electronic means on all counsel of record by the Court’s CM/ECF system.



                                    /s/ Andrew Erickson
                                    ________________________
                                    Andrew Erickson




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